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 6
     Counsel for Plaintiff The Women’s Student Union
 7

 8                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
 9

10                                           NOTICE OF INTENT TO REST ON
11    THE WOMEN’S STUDENT UNION,             AMENDED COMPLAINT

12               Plaintiff,                  Civil Action No. 3:21-cv-01626-EMC

13               v.                          Judge: Honorable Edward M. Chen
14    U.S. DEPARTMENT OF EDUCATION,          Hearing: n/a
15
                 Defendant.
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     Notice of Intent to Rest on Amended Complaint
     3:21-cv-01626-EMC
             Case 3:21-cv-01626-EMC Document 117 Filed 03/15/22 Page 2 of 3




 1          Plaintiff the Women’s Student Union respectfully submits the following notice to inform

 2   the Court that it intends to rest on the Amended Complaint dismissed by the Court on February

 3   16, 2022, see ECF No. 114, rather than filing a Second Amended Complaint. After the court

 4   dismisses a complaint with leave to amend, “[a] plaintiff may obtain an appealable final judgment

 5   by ‘fil[ing] in writing a notice of intent not to file an amended complaint.’” Edwards v. Marin

 6   Park, Inc., 356 F.3d 1058, 1063-64 (9th Cir. 2004) (quoting WMX Techs., Inc. v. Miller, 104 F.3d

 7   1133, 1135 (9th Cir. 1997)). WSU therefore requests that the Court enter a final appealable order

 8   so that it can pursue an appeal to the United States Court of Appeals for the Ninth Circuit.

 9   Date: March 15, 2022                               Respectfully submitted,

10

11    /s/ John T. Lewis                                Adele P. Kimmel (CA Bar No. 126843)
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21                                                     * admitted pro hac vice
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     Notice of Intent to Rest on Amended Complaint
     3:21-cv-01626-EMC
              Case 3:21-cv-01626-EMC Document 117 Filed 03/15/22 Page 3 of 3




 1                                     CERTIFICATE OF SERVICE

 2           I hereby certify that on March 15, 2022, a true and accurate copy of the foregoing was

 3   electronically filed with the Clerk of Court using the Court’s CM/ECF system, which will send a
 4   notification of the filing to counsel in this case.
 5
                                                           /s/ John T. Lewis
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     Notice of Intent to Rest on Amended Complaint
     3:21-cv-01626-EMC
